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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        :            CHAPTER 7
                                              :
SHAHINA SIDDIQUA,                             :            CASE NO. 19-65388-PWB
                                              :
         Debtor.                              :
                                              :
                                              :
S. GREGORY HAYS,                              :
Chapter 7 Trustee for the Estate of           :
Shahina Siddiqua,                             :
                                              :
                                              :
         Plaintiff,                           :
                                              :
v.                                            :            Adv. Pro. No. 21-5100-PWB
                                              :
MOHAMMAD MONIM HOSSAIN,                       :
                                              :
         Defendant.                           :
                                              :



                      STIPULATION OF DISMISSAL WITH PREJUDICE

         COME NOW S. Gregory hays, as Chapter 7 Trustee for the bankruptcy estate of Shahina

Siddiqua and plaintiff herein (“Trustee”), and Mohammad Monim Hossain a defendant herein

(“Mr. Hossain” and with Trustee, the “Parties”), by and through their respective undersigned

counsel, and, pursuant to Federal Rules of Bankruptcy Procedure Rule 7041 and Federal Rules of

Civil Procedure Rule 41(a)(1)(A)(ii), hereby stipulate to the dismissal, with prejudice, of this

adversary proceeding and all claims raised herein.




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        Respectfully submitted this 21st day of June, 2022.

                                             ARNALL GOLDEN GREGORY LLP
                                             Attorneys for Trustee

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                                  CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18, and that I have this date
served a true and correct copy of the foregoing STIPULATION OF DISMISSAL WITH
PREJUDICE by electronic mail at the email addresses stated:

Stephen Francis Suarino
steve@theslfirm.com


               Dated: June 21, 2022.

                                                      /s/ Michael J. Bargar
                                                      Michael J. Bargar
                                                      Georgia Bar No. 645709




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